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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 25-cv-60315-WPD

   GENIE-S INTERNATIONAL LTD.,

          Plaintiff,

   v.

   THE INDIVIDUALS, CORPORATIONS, LIMITED
   LIABILITY COMPANIES, PARTNERSHIPS, AND
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE A,

          Defendants.
                                                        /

                                 ORDER ON PLAINTIFF’S
                          MOTION FOR PRELIMINARY INJUNCTION

          THIS CAUSE came before the Court upon Plaintiff’s Motion for Preliminary Injunction

   (the “Motion”). The Court has carefully reviewed the Motion and the record and is otherwise fully

   advised in the premises.

          By the instant Motion, Plaintiff, GENIE-S INTERNATIONAL LTD., (“Plaintiff” or

   “GENIE-S”), moves for entry of a preliminary injunction against Defendants, the Individuals,

   Business Entities, and Unincorporated Associations identified on Schedule A hereto (collectively

   “Defendants”), and an entry of an order restraining the financial accounts used by Defendants,

   pursuant to 35 U.S.C. § 283, 35 U.S.C. § 284, 35 U.S.C. § 289, Fed. R. Civ. P. 65, and The All Writs

   Act, 28 U.S.C. § 1651(a).

          The Court convened a hearing on April 4, 2025, at which counsel for Plaintiff was present

   and available to present evidence supporting its Motion for Preliminary Injunction. Because

   Plaintiff has satisfied the requirement for the issuance of a preliminary injunction, the Court will
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   now grant Plaintiffs’ Motion for Preliminary Injunction as to the Defendants listed in the attached

   Schedule A.

   I.     Factual Background

          Plaintiff, GENIE-S, has been granted licenses and rights to enforce several U.S. Patents

   covered by at least U.S. Patent Nos. 8,079,388 B2 and 8,881,775 B2 (the “Beauty Union Global

   Limited Utility Patents”) and 9,738,437 B2, 8,978,938 B2, and 9,522,403 B2 (the “Dongguan

   Yixin Magnetic Disk Co. Ltd Utility Patents”) (collectively the “GENIE-S Patents”). GENIE-S is

   the distributor of genuine GENIE-S Products.

          The Defendants, through the various Internet based e-commerce stores operating under the seller

   identities identified on Schedule A hereto (collectively, the “Defendant Internet Stores”), have

   advertised, promoted, offered for sale, or sold goods that utilize the technology and inventions

   claimed by at least one of the GENIE-S Patents (the “Infringing products”). See Declaration of

   Pamela Hui (“Hui Decl.”), ¶¶ 8–15.

          The Defendants are not now, nor have they ever been, authorized or licensed to use the

   GENIE-S Patents, and none of the Defendants are authorized retailers of genuine GENIE-S

   Products. See Hui Decl., ¶ 21.

          The Plaintiff investigated the promotion and sale of Infringing Products on the Defendant

   Internet Stores. See Hui Decl., ¶¶ 8–15. Plaintiff accessed each of the e-commerce stores operating

   under the Defendant Internet Stores, initiated the ordering process for the purchase of a product from

   each of the Defendant Internet Stores, all of which directly or indirectly utilize the technology of

   and/or the inventions claimed in the GENIE-S Patents, and completed a checkout page requesting

   each product to be shipped to an address in the Southern District of Florida. See id. The Plaintiff

   conducted a review and visually inspected the Infringing Products for which orders were initiated




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   by Plaintiff’s third-party investigator via the Defendant Internet Stores and determined the

   Infringing Products were non-genuine, unauthorized versions of the GENIE-S Products utilizing

   the GENIE-S Patents. See id.

    II.   Legal Standard

          In order to obtain a preliminary injunction, a party must demonstrate “(1) [there is] a

   substantial likelihood of success on the merits; (2) that irreparable injury will be suffered if the

   relief is not granted; (3) that the threatened injury outweighs the harm the relief would inflict on

   the non-movant; and (4) that the entry of the relief would serve the public interest.” Schiavo ex.

   rel Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005).

   III.     Conclusions of Law

          The declarations Plaintiff submitted in support of its Motion support the following

   conclusions of law:

          A.      Plaintiff has submitted sufficient documentation that Defendants make, use, offer

   for sale, sell, and/or import into the United States for subsequent sale or use products that infringe

   directly and/or indirectly one or more claims of the GENIE-S Patents. The documentation

   submitted by Plaintiff shows that an ordinary observer would be deceived into thinking that the

   Infringing Products were the same as one or more claims of the GENIE-S Patents.

          B.      Because of the infringement of the GENIE-S Patents, Plaintiff is likely to suffer

   immediate and irreparable injury if a preliminary injunction is not granted. The following

   specific facts, as set forth in Plaintiff’s Complaint, Motion, and accompanying declarations,

   demonstrate that immediate and irreparable loss, damage, and injury absent injunctive relief:

                 i.       Defendants own or control e-commerce stores and commercial Internet

   websites operating under their respective seller identification names and domain names that




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   advertise, promote, offer for sale, and sell Infringing Products in violation of Plaintiff’s respective

   rights;

                  ii.       There is good cause to believe that more Infringing Products will appear in

   the marketplace; that consumers are likely to be misled, confused, and/or disappointed by the

   quality of these products; and that Plaintiff may suffer loss of sales for its genuine products; and

             C.      The balance of potential harm to Defendants in restraining their trade in the

   Infringing Products if a preliminary injunction is issued is far outweighed by the potential harm to

   Plaintiff, its reputation, and its goodwill as a manufacturer and distributor of quality products, if

   such relief is not issued.

             D.      The public interest favors issuance of the preliminary injunction to protect

   Plaintiff’s patent interests, to encourage respect for the law, to facilitate the invention and

   development of innovative products, and to protect the public from being defrauded by the illegal

   sale of infringing goods.

             E.      The Patent Act authorizes courts to issue injunctive relief “in accordance with the

   principles of equity to prevent the violation of any right secured by patent, on such terms as the

   court deems reasonable.” 35 U.S.C. § 283.

             F.      Requesting equitable relief “invokes the district court’s inherent equitable powers

   to order preliminary relief, including an asset freeze, in order to assure the availability of

   permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (11th Cir. 1995) (citing Federal Trade

   Commission v. United States Oil & Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

             G.      In light of the inherently deceptive nature of the counterfeiting business, and the

   likelihood that Defendants have violated federal patent laws, Plaintiff has good reason to believe

   Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of this Court unless




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   those assets are restrained.

          Upon review of Plaintiff’s Complaint, Motion, and supporting evidentiary submissions, it

   is hereby ORDERED that Plaintiff’s Motion is GRANTED, according to the terms set forth below:

                                    PRELIMINARY INJUNCTION

          (1)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice of

   this Order are hereby temporarily restrained as follows:

                  a.      From manufacturing, importing, advertising, promoting, offering to sell,

   selling, distributing, or transferring any products not authorized by Plaintiff and that utilize the

   technology of and/or inventions claimed in the GENIE-S Patents;

                  b.      Aiding, abetting, contributing to, or otherwise assisting anyone in infringing

   upon the GENIE-S Patents; and

                  c.      Effecting assignments or transfers, forming new entities or associations or

   utilizing any other device for the purpose of circumventing or otherwise avoiding the prohibitions

   set forth in Subparagraphs (a) and (b).

          (2)     Each Defendant shall not transfer ownership of the Internet based e-commerce

   stores and Internet websites operating under their Defendant Internet Stores and Seller IDs during

   the pendency of this action, or until further order of the Court;

          (3)     Each Defendant shall preserve copies of all computer files relating to the use of any

   of the Internet based e-commerce stores and Internet websites operating under their Defendant

   Internet Stores and Seller IDs and shall take all steps necessary to retrieve computer files relating

   to the use of the Internet based e-commerce stores and Internet websites operating under their

   Defendant Internet Stores and Seller IDs that may have been deleted before the entry of this Order;




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          (4)     Those with actual notice of this Order, including any online marketplaces such as

   the Online Marketplaces, social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet

   search engines such as Google, Bing, and Yahoo, and web hosts for the Defendant Internet Stores,

   shall within three (3) business days of receipt of this Order:

                  a.      disable and cease providing services for any accounts through which

    Defendants engage in the sale of infringing goods directly or indirectly infringing the GENIE-S

    Patents, including any accounts associated with the Defendants listed on the attached Schedule

    A;

                  b.      disable and cease displaying any advertisements used by or associated with

    Defendants in connection with the sale of infringing goods directly or indirectly infringing the

    GENIE-S Patents; and

                  c.      take all steps necessary to prevent links to the Defendant Internet Stores

    identified on the attached Schedule A from displaying in search results, including, but not limited

    to, removing links to the Defendant Internet Stores from any search index.

          (5)     Defendants and any third party with actual notice of this Order who is providing

   services for any of the Defendants, or in connection with any of Defendants’ websites at the

   Defendant Internet Stores or other websites operated by Defendants, including, without limitation,

   any online marketplace platforms such as the online marketplace platforms, Internet Service

   Providers (“ISP”), web hosts, back-end service providers, web designers, sponsored search engine

   or ad-word providers, banks, merchant account providers, including PayPal, Alipay, Wish,

   Walmart, Joom, Alibaba, Ant Financial, Amazon, DHgate, eBay, Shein, Temu, Payoneer,

   PingPong, Coinbase, LianLian, AllPay, Union Mobile, World First, Paxful, Shopify, Stripe, OFX,

   SellersFund, third party processors and other payment processing service providers, shippers, and




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   domain name registrars (collectively, the “Third Party Providers”) shall, within five (5) business

   days after receipt of such notice, provide to Plaintiff expedited discovery—based on the identifying

   information provided by Plaintiff’s counsel including but not limited to, account IDs, legal names,

   and associated email addresses— including copies of all documents and records in such person’s

   or entity’s possession or control relating to:

                  a.      the identities and locations of Defendants, their agents, servants, employees,

   confederates, attorneys, and any persons acting in concert or participation with them, including all

   known contact information;

                  b.      the nature of Defendants’ operations and all associated sales and financial

   information, including, without limitation, identifying information associated with Defendants’

   online marketplace accounts, the Defendant Internet Stores, and Defendants’ financial accounts,

   as well as providing a full accounting of Defendants’ sales and listing history related to their

   respective online marketplace accounts and Defendant Internet Stores;

                  c.      Defendants’ websites and/or any online marketplace accounts;

                  d.      the Defendant Internet Stores or any domain name registered by

   Defendants; and

                  e.      any financial accounts owned or controlled by Defendants, including their

   agents, servants, employees, confederates, attorneys, and any persons acting in concert or

   participation with them, including such accounts residing with or under the control of any banks,

   savings and loan associations, payment processors or other financial institutions, including,

   without limitation, PayPal, Alipay, Wish, Walmart, Joom, Alibaba, Ant Financial, Amazon Pay,

   DHgate, eBay, Shein, Temu, Payoneer, PingPong, Coinbase, LianLian, AllPay, Union Mobile,

   World First, Paxful, Shopify, Stripe, OFX, Sellers Funding, or other merchant account providers,




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   payment providers, third party processors, and credit card associations (e.g., MasterCard and

   VISA).

            (6)   Defendants and any persons in active concert or participation with them who have

   actual notice of this Order shall be temporarily restrained and enjoined from transferring or

   disposing of any money or other of Defendants’ assets until further ordered by this Court.

            (7)   Western Union shall, within five (5) business days of receipt of this Order, block

   any Western Union money transfers and funds from being received by Defendants until further

   ordered by this Court.

            (8)   The Marketplace Platforms shall, within five (5) business days of receipt of this

   Order, for any Defendant or any of the Defendant Internet Stores:

                  a.        locate all accounts and funds connected and/or related to Defendants and

   the Defendant Internet Stores, including, but not limited to, any Amazon, PayPal, Payoneer,

   LianLian, AllPay, PingPong, Coinbase, Union Mobile, eBay, Shein, Temu, Walmart, and Wish

   accounts connected and/or related to the information listed in the attached Schedule A; and

                  b.        restrain and enjoin any such accounts or funds from transferring or

   disposing of any money or other of Defendants’ assets until further ordered by this Court.

            (9)   The Financial Institutions, any banks, savings and loan associations, payment

   processors, or other financial institutions, for any Defendant or any of Defendants’ online

   marketplace accounts or websites, shall within five (5) business days of receipt of this Order:

                  a.        locate all accounts and funds connected and/or related to Defendants and

   the Defendant Internet Stores, including, but not limited to, any accounts connected and/or related

   to the information listed in Schedule A to this Order; and

                  b.        restrain and enjoin any such accounts or funds from transferring or




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   disposing of any money or other of Defendants’ assets until further ordered by this Court.

           (10)   Plaintiff may provide notice of these proceedings to Defendants by electronically

   publishing a link to the Complaint, this Order, and other relevant documents on a website or by

   sending an email to all email addresses identified by Plaintiff and any email addresses provided

   for Defendants by third parties that includes a link to said website. The combination of providing

   notice via electronic publication or email, along with any notice that Defendants receive from

   marketplace platforms or payment processors, shall constitute notice reasonably calculated under

   all circumstances to apprise Defendants of the pendency of the action and afford them the

   opportunity to present their objections.

           (11)   Any Defendants that are subject to this Order may appear and move to dissolve or

   modify the Order on two days’ notice to Plaintiff or on shorter notice as set by this Court.

           (12)   The one-hundred-thousand-dollar ($100,000.00) bond posted by Plaintiff shall

   remain with the Court until a final disposition of this case or until this Preliminary Injunction is

   terminated.

           DONE AND ORDERED in Chambers in Fort Lauderdale, Florida, this 4th day of April,

   2025.




    Copies provided to:
    Counsel of Record




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                                        SCHEDULE A

   DOE      Defendant Seller                            Defendant Marketplace
    1  Guangzhou Chengchuang           https://ccsj888.en.alibaba.com/index.html?spm=1601227
       Packaging Products Co.,         332949
       Ltd.
    2  Jiangsu Delantai Glass          https://jsdlt.en.alibaba.com/index.html?spm=1601210590
       Products Co., Ltd.              097
    3  Jiangsu Yifan International     https://yifanguomao.en.alibaba.com/index.html?spm=16
       Trade Co., Ltd.                 01117277237
    4  Nantong Xinde Medical           https://nantongxinde.en.alibaba.com/index.html?spm=16
       Packing Material Co., Ltd.      01304992763
    5  Ningbo Sunwinjer Daily          https://nbsunwinjer.en.alibaba.com/index.html?spm=160
       Products Co., Ltd.              1258053236
    6  Shaoxing Camil Packaging        https://camil.en.alibaba.com/index.html?spm=160040136
       Co., Ltd.                       1321
    7  Ageless Beauty Care             https://www.aliexpress.com/store/1101047929
    8  aesthestify                     https://www.amazon.com/sp?seller=A20T3FGNNNNAF
                                       9
     9    beijingchuangweifuxingkeji   https://www.amazon.com/sp?seller=A351C5ITPCFFCP
          youxiangongsi
     10   Cheeroyal                    https://www.amazon.com/sp?seller=A1HMO8LMK3DE
                                       4S
     11   DABEL TRADING                https://www.amazon.com/sp?seller=A86HOA1V4UGX
                                       D
     12   D-LOTUS                      https://www.amazon.com/sp?seller=A38XALPPJQI0K9
     13   EMISSU                       https://www.amazon.com/sp?seller=ADSYM289MIYTT
     14   eStarpro                     https://www.amazon.com/sp?seller=ALJ5FM85WQ78C
     15   faraway from                 https://www.amazon.com/sp?seller=A3D4DHA0DSFW6
                                       7
     16   Fivexing                     https://www.amazon.com/sp?seller=AQGHBZ4K6R4ZK
     17   frsmghx                      https://www.amazon.com/sp?seller=A2CNLR4ZM4HU8
     18   Good night department        https://www.amazon.com/sp?seller=A2ZL3BIT8XWMQ
          store                        5
     19   HNJZX                        https://www.amazon.com/sp?seller=A16A9NR6UMU1
                                       M0
     20   HYX168                       https://www.amazon.com/sp?seller=A3GY4RC62DNW6
                                       R
     21   Jiefuxin official store      https://www.amazon.com/sp?seller=A2MY3SH4LK6GE
     22   KayzonTech                   https://www.amazon.com/sp?seller=A2R2F1FMLB9PH
                                       P
     23   KJHD official                https://www.amazon.com/sp?seller=A1YN8S920GS6V9
     24   MOFENGFENG                   https://www.amazon.com/sp?seller=A3LI4FT6M4H3TR
     25   new beat for dear            https://www.amazon.com/sp?seller=A3PZ701CPCS6FO



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   DOE     Defendant Seller                          Defendant Marketplace
    26 QIBANHUA MAKEUP                 https://www.amazon.com/sp?seller=A3FIGG60NYN5H2
       TOOLS
    27 QMET                            https://www.amazon.com/sp?seller=ACZIY0AX25102
    28 QMOEH                           https://www.amazon.com/sp?seller=ANWPE8JKS62KX
    29 SCOLAND                         https://www.amazon.com/sp?seller=A4YW1WWJFMO
                                       UD
     30   Shenzhen Censung             https://www.amazon.com/sp?seller=A3R3Q8OXTQU52
          International Trading        S
          Company
     31   shuifenzh                    https://www.amazon.com/sp?seller=A3QXX5BXM4201
                                       N
     32   Skogfe                       https://www.amazon.com/sp?seller=A2TOMR9AL8IO6
                                       6
     33   TF Pedck                     https://www.amazon.com/sp?seller=A1U2968R3QQ60R
     34   VOVOU US                     https://www.amazon.com/sp?seller=A3AA4JJYS2C7R2
     35   walalala                     https://www.amazon.com/sp?seller=A210YH762GTP47
     36   wouldRather                  https://www.amazon.com/sp?seller=A22BNPR4F48TEG
     37   yakify                       https://www.amazon.com/sp?seller=AVDPWU23CH56C
     38   YANGDOUS                     https://www.amazon.com/sp?seller=A196OHRVZ74166
     39   YOCASII                      https://www.amazon.com/sp?seller=AJLJ81Z5BA5UG
     40   YXGJ                         https://www.amazon.com/sp?seller=A288VSGY59Q82T
     41   ZHAOMEI-US                   https://www.amazon.com/sp?seller=A3U3P2M00T8J1L
     42   zhuotianshan                 https://www.amazon.com/sp?seller=AAILGMDUEP0GE
     43   byomo-pi                     https://www.ebay.com/str/byomopi
     44   chrismastore                 https://www.ebay.com/usr/chrismastore
     45   daniel_wreight               https://www.ebay.com/usr/daniel_wreight
     46   elijah_alvarbez              https://www.ebay.com/usr/elijah_alvarbez
     47   fatwi56                      https://www.ebay.com/usr/fatwi56
     48   freeasy22                    https://www.ebay.com/str/freeasy22
     49   huohuashi02                  https://www.ebay.com/str/huohuashi02
     50   imaxcity1002                 https://www.ebay.com/str/imaxcity1002
     51   lalawenchang                 https://www.ebay.com/str/lalawenchang
     52   Little White Rabit Digital   https://www.ebay.com/str/ouda2022
          2023
     53   noachy-0                     https://www.ebay.com/str/noachy0
     54   qubm6881                     https://www.ebay.com/str/qubm6881
     55   tracey_beansley              https://www.ebay.com/usr/tracey_beansley
     56   travndctechnolo-0            https://www.ebay.com/usr/travndctechnolo-0
     57   A ALLISON HOME               https://us.shein.com/store/home?store_code=5799004365
     58   admire                       https://us.shein.com/store/home?store_code=1090013730
     59   All Glory                    https://us.shein.com/store/home?store_code=2133838766
     60   AOYIKANG                     https://us.shein.com/store/home?store_code=2678892995
     61   Around the corner            https://us.shein.com/store/home?store_code=1231117513
     62   ATSM                         https://us.shein.com/store/home?store_code=6092526577


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   DOE         Defendant Seller                    Defendant Marketplace
    63    AYX Life-Home Store     https://us.shein.com/store/home?store_code=7144115507
    64    Bag market store        https://us.shein.com/store/home?store_code=9686934874
    65    BAGWORLD                https://us.shein.com/store/home?store_code=1723951117
    66    Beautiful Face          https://us.shein.com/store/home?store_code=8856229808
    67    CHENKAIRUI              https://us.shein.com/store/home?store_code=4601386675
    68    CuiNa fashion           https://us.shein.com/store/home?store_code=9517809860
    69    CXYaaa                  https://us.shein.com/store/home?store_code=4605731084
    70    daunximy                https://us.shein.com/store/home?store_code=8731055788
    71    DIDABEAR                https://us.shein.com/store/home?store_code=1423899286
    72    Domey                   https://us.shein.com/store/home?store_code=9143486336
    73    dongfanggouwu           https://us.shein.com/store/home?store_code=4536099938
    74    Early Bird Peng         https://us.shein.com/store/home?store_code=4896282023
    75    ELINOR                  https://us.shein.com/store/home?store_code=1314055063
    76    E-Travelling            https://us.shein.com/store/home?store_code=2402029338
    77    FANRAN                  https://us.shein.com/store/home?store_code=6682333318
    78    FengLai                 https://us.shein.com/store/home?store_code=2552983997
    79    Five Members            https://us.shein.com/store/home?store_code=2793754884

     81   GlobalBagSpot           https://us.shein.com/store/home?store_code=3466242732
     82   Good fortune Living     https://us.shein.com/store/home?store_code=1758566958
     83   Goviyar Makeup Tool     https://us.shein.com/store/home?store_code=9922486233
     84   GuteUnit Store          https://us.shein.com/store/home?store_code=2813578852
     85   happy home              https://us.shein.com/store/home?store_code=7539653199
     86   homiaobaihuo            https://us.shein.com/store/home?store_code=3398763633
     87   HONG HUA                https://us.shein.com/store/home?store_code=2855089003
     88   Horizontal trade        https://us.shein.com/store/home?store_code=1844794501
     89   HSCommodity             https://us.shein.com/store/home?store_code=2264061372
     90   hui yi                  https://us.shein.com/store/home?store_code=4032426850
     91   HXH                     https://us.shein.com/store/home?store_code=9220522310
     92   JHyitian                https://us.shein.com/store/home?store_code=4214908770
     93   jiamaiwen               https://us.shein.com/store/home?store_code=1252923282
     94   Jin wu                  https://us.shein.com/store/home?store_code=7421971878
     95   JinhuaTH                https://us.shein.com/store/home?store_code=7825941569
     96   jiyingmaoyi             https://us.shein.com/store/home?store_code=5652630791
     97   JORY Store              https://us.shein.com/store/home?store_code=1925424725
     98   Lechay                  https://us.shein.com/store/home?store_code=3870624673
     99   Liberal order           https://us.shein.com/store/home?store_code=3944563403
    100   Lucky Grass             https://us.shein.com/store/home?store_code=6891917684
    101   luehe                   https://us.shein.com/store/home?store_code=9497711126
    102   Magic Star              https://us.shein.com/store/home?store_code=8235595612
    103   MDHAND                  https://us.shein.com/store/home?store_code=9807115573
    104   Mr Hu Department        https://us.shein.com/store/home?store_code=9508907385
    105   MUB Perfume Bottles     https://us.shein.com/store/home?store_code=1192880873
    106   nayangmeili             https://us.shein.com/store/home?store_code=7716983475


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   DOE          Defendant Seller                        Defendant Marketplace
    107   Onlylove-MW                  https://us.shein.com/store/home?store_code=7430593102
    108   Park Lan daily necessities   https://us.shein.com/store/home?store_code=2213495805
    109   Pin Yi                       https://us.shein.com/store/home?store_code=4166357058
    110   QIAQU                        https://us.shein.com/store/home?store_code=9920455733
    111   qibangdianzi                 https://us.shein.com/store/home?store_code=6069015207
    112   QiBanHua                     https://us.shein.com/store/home?store_code=6170096535
    113   qushengbaihuo                https://us.shein.com/store/home?store_code=4893307485
    114   Seibam                       https://us.shein.com/store/home?store_code=3177671121
    115   sentianbaihuo                https://us.shein.com/store/home?store_code=8566747224
    116   SGrunxing                    https://us.shein.com/store/home?store_code=9763231332
    117   ShiAo                        https://us.shein.com/store/home?store_code=1331217392
    118   Spring pomelo                https://us.shein.com/store/home?store_code=2165166837
    119   TravelLite Gear              https://us.shein.com/store/home?store_code=8066448558
    120   weizeG                       https://us.shein.com/store/home?store_code=2362695485
    121   Y.T                          https://us.shein.com/store/home?store_code=5227097104
    122   Yi Qing                      https://us.shein.com/store/home?store_code=1530847134
    123   YiYuan Perfume Bottle        https://us.shein.com/store/home?store_code=4064525383
    124   yueguangbaohexb              https://us.shein.com/store/home?store_code=7721194692
    125   yunhe01                      https://us.shein.com/store/home?store_code=3516959014
    126   YUYU General Store           https://us.shein.com/store/home?store_code=9494090687
    127   YW Jingheng                  https://us.shein.com/store/home?store_code=5978618708
    128   YWchuangwei                  https://us.shein.com/store/home?store_code=4272770314
    129   YWDAIWO                      https://us.shein.com/store/home?store_code=1027405934
    130   YWJINGXUAN                   https://us.shein.com/store/home?store_code=6131605857
    131   YWourui                      https://us.shein.com/store/home?store_code=4828300032
    132   YWZF                         https://us.shein.com/store/home?store_code=6942426589
    133   zhiyumaoyi                   https://us.shein.com/store/home?store_code=2033280058
    134   zugexb                       https://us.shein.com/store/home?store_code=1195199663
    135   An Liang Be                  https://www.temu.com/an--be-m-634418216397182.html
    136   Creek Crossing               https://www.temu.com/uk/creek-crossing-m-
                                       634418210864587.html
    137   fashion Bag monopoly         https://www.temu.com/sports-equipment-ce-m-
                                       634418217474687.html
    138   Liff Home Life               https://www.temu.com/--m-2179907328545.html
    139   MUFY MAKEUP BRUSH            https://www.temu.com/-makeup-brush-m-
                                       634418213072536.html
    140   Northern Moon                https://www.temu.com/cz-en/-moon-m-
                                       634418217582362.html
    141   PDStar                       https://www.temu.com/-m-634418215117876.html
    142   SAIZOU                       https://www.temu.com/saizou-m-634418214105300.html
    143   TopAdlib                     https://www.temu.com/topadlib-m-
                                       634418218460799.html
    144   Cainana                      https://www.walmart.com/global/seller/102500963
    145   dong xu                      https://www.walmart.com/global/seller/101693012


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   DOE       Defendant Seller                      Defendant Marketplace
    146 Fabiurt                      https://www.walmart.com/reviews/seller/101470435
    147 foshanshilingxuanlongshang   https://www.walmart.com/global/seller/102486104
        mao
    148 Hand Jet                     https://www.walmart.com/reviews/seller/101526089
    149 JPyou                        https://www.walmart.com/reviews/seller/102573694
    150 LINKALL                      https://www.walmart.com/global/seller/101342176
    151 LUCKY COKIE                  https://www.walmart.com/reviews/seller/101086810
    152 LUNUAOE                      https://www.walmart.com/reviews/seller/101676379
    153 MoHern                       https://www.walmart.com/global/seller/101096051
    154 Night Theater                https://www.walmart.com/reviews/seller/102493839
    155 Ru Zhou Shi Guan He Gong     https://www.walmart.com/reviews/seller/102606602
        Ying Lian You Xian Gong
        Si
    156 shaoshanshizicong            https://www.walmart.com/global/seller/102497584
    157 Shionter                     https://www.walmart.com/reviews/seller/102616424
    158 Uralili Co., Ltd             https://www.walmart.com/reviews/seller/101176856
    159 xiangtancikeli               https://www.walmart.com/global/seller/102507466
    160 yunmujia09                   https://www.walmart.com/global/seller/101686648




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